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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


IN RE PHARMACEUTICAL INDUSTRY                       MDL No. 1456
AVERAGE WHOLESALE PRICE
LITIGATION
THIS DOCUMENT RELATES TO:                           CIVIL ACTION: 01-CV-12257-PBS
ALL CLASS ACTIONS                                   Judge Patti B. Saris
                                                    [Leave to File Granted on 1/2/07]


            PLAINTIFFS’ SUR-REPLY OPPOSITION REGARDING THE
         TRANSACTION REQUIREMENT IN GEN. LAWS CHAPTER 93A, § 11



            Although Defendants’ Reply Memorandum contains numerous errors and

misstatements, two of those errors are fatal to their attempt to graft a transaction

requirement onto Section 11. First, contrary to Defendants’ claim, the Massachusetts

Supreme Judicial Court’s (“SJC’s”) holding in Szalla v. Locke, 421 Mass. 448, 657

N.E.2d 1267 (1995) did not announce a departure from prior decisions interpreting

Section 11; rather, it simply applied that law to a factual scenario – whether partners in

the same enterprise are engaged in “trade or commerce” under Section 11 – that is not

relevant here. Second, Defendants are simply wrong that Plaintiffs’ argument that BCBS

Massachusetts and Taft Hartley funds have standing under Section 9 stands only on the

decision of a single but (according to Defendants) misguided Court. Instead, as

acknowledged by other federal courts, that argument is well supported by Massachusetts




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law. For these reasons, this Court should deny Defendants the opportunity to rewrite

Section 11 as they have proposed.

 I.          CONTRARY TO DEFENDANTS’ ARGUMENTS, SZALLA ANNOUNCED
               NO NEW INTERPRETATION OF SECTION 11 AND DEALT WITH
                            FACTS NOT RELEVANT HERE

            Defendants’ Reply spends paragraph upon paragraph delineating Massachusetts

case law as pre- and post-Szalla, claiming that this opinion created some brightline

distinction missed by Plaintiffs. Defendants’ selective quotes from that decision,

however, disguise the truly narrow scope of the Szalla opinion. Szalla concerned a

Section 11 claim that arose from an unsuccessful effort by the plaintiff and defendant to

start a garden nursery business together. Notably, the only “relevant inquiry [in Szalla]

[wa]s whether the parties’ activities associated with the development of a business

constituted ‘trade or commerce’ pursuant to c. 93A.” Szalla, 421 Mass. at 450-51, 657

N.E. 2d at 1269. In determining whether there had been such trade or commerce, the

Court noted that: “[t]he development of c. 93A suggests that the unfair or deceptive acts

or practices prohibited are those that may arise in dealings between discrete, independent

business entities, and not those that may occur within a single company.” Szalla, 421

Mass. at 451, 657 N.E. 2d at 1269 (emphasized portion was omitted from Defendants’

Reply at 2 without indicating that the sentence continued after “entities”). The Court

thereafter held that intra-enterprise disputes that do not involve an “actual or

contemplated” transaction could not constitute a “commercial transaction … in the sense

required by c. 93A.” Id. at 452, 657 N.E. 2d at 1270.



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            It is this discrete holding for which Szalla is known and relied upon,1 not the

purported “commercial interaction between the parties” requirement created by

Defendants.2 In fact, the Szalla Court actually “conclude[d] that c. 93A requires that

there be a commercial transaction between a person engaged in trade or commerce with

another person engaged in trade or commerce.” Id. at 451-52, 657 N.E. 2d at 1269. It

did not require that this transaction occur between the plaintiff and defendant. Id. As set

forth in Plaintiffs’ original Opposition, this principle is bolstered by the Massachusetts

Supreme Judicial Court’s pronouncement (not in dicta, as Defendants suggest) that

privity is not required in c. 93A § 11 claims. See Nei v. Boston Survey Consultants, Inc.,

388 Mass. 320, 324, 446 N.E.2d 681, 683 (1983) (stating that, although there is no

requirement of privity of contract, the judgment for defendant was affirmed because

      1
        This conclusion is confirmed by the long line of Massachusetts SJC cases citing and relying on Szalla; each
substantive Szalla citation by the Court is for the proposition that c. 93A does not apply to disputes among
“coventurers.” See Danger Records, Inc. v. Berger, 444 Mass. 1, 6, 825 N.E.2d 498, 503, n. 6 (2005) (citing Szalla
for proposition that c. 93A does not apply to “a dispute among coventurers.”); Lattuca v. Robsham, 442 Mass. 205,
209, 812 N.E.2d 877, 881 (2004) (relying on Szalla for rule that c. 93A does not apply to “internal disputes between
parties who associated ‘in the interests of forming a business venture together.”); First Enterprises, Ltd. v. Cooper,
425 Mass. 344, 347, 680 N.E. 2d 1163, 1165 (1997) (citing Szalla for rule that “disputes between parties in the same
venture” do not fall within scope of c. 93A); Linkage Corp. v. Trustees of Boston Univ., 425 Mass. 1, 23, 679 N.E.
2d 191, 206-07 (1997) (discussing Szalla as limiting c. 93A to exclude intra-enterprise disputes “because they are
more similar to purely private disputes and not ‘commercial transactions’”). Indeed, numerous other Massachusetts
opinions, including several relied on by Defendants, cite Szalla only for this limited proposition, while none rely on
it for the wide-sweeping and imaginary rule that Defendants concocted.
      2
      Defendants’ citations to cases purporting to confirm their “Post-Szalla” fiction have no relevance here,
because they all deal with situations such as car crashes and contaminated wells where no transaction between the
parties existed whatsoever. See L.B. Corp. v. Scweitzer-Mauduit Int’l Inc., 121 F. Supp. 2d 147 (D. Mass. 2000) (in
a case involving “the improper pumping of water from one of defendants’ wells” that caused damage to plaintiff’s
property; again, there was no transaction that went awry, just bad neighboring); Swenson v. Yellow Transp., Inc.,
317 F. Supp. 2d 51, 56 (D. Mass. 2004) (dismissing a 93A § 11 claim based on a car crash between parties because
there was no transaction or relationship between the parties, “or even between [Defendant] and any other travelers
on the road.”); Cash Energy, Inc. v. Weiner, 768 F. Supp. 892, 894 (D. Mass. 1991) (a pre-Szalla case concerning
environmental contamination where no transaction occurred whatsoever); Milliken & Co. v. Duro Textiles, LLC, 19
Mass. L. Rep. 509, 2005 Mass. Super. Lexis 376, at *51 (2005) (the only dealings among the parties occurred “in
the course of [defendant’s] unsuccessful bankruptcy proceedings and the present litigation.”); O’Brien v. Comenitz,
14 Mass. L. Rep. 589, 2002 Mass. Super Lexis 194 (2002) (dismissing 93A claim where a meter maid filed a
complaint against defendant real estate broker, pursuant to injuries the meter maid received when she attempted to
give the driver a parking ticket because no transaction occurred whatsoever).


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parties had no contractual or business relationship and the defendant never made

misstatements to plaintiffs).3

            Finally, Defendants claim that their transaction “requirement” was inserted into

Section 11 by virtue of the Massachusetts legislature’s purported concern with converting

garden variety business tort claims into 93A claims. However, no such language exists in

Section 11, which instead broadly provides in pertinent part:

                      Any person who engages in the conduct of any trade or
                      commerce and who suffers any loss of money or property,
                      real or personal, as a result of the use or employment by
                      another person who engages in any trade or commerce of an
                      unfair method of competition or an unfair or deceptive act or
                      practice declared unlawful by section two or by any rule or
                      regulation issued under paragraph (c) of section two may, as
                      hereinafter provided, bring an action….

Mass. G.L. Ch. 93A, § 11 (emphasis added). The statute does not require that the

litigants transact exclusively with one another, and the Court should not require this

either. Indeed, Chapter 93A is explicitly “not limited by traditional tort and contract law

requirements.’” Id. § 2. Samuel Black Co. v. Burroughs Corp.¸ No. 78-3077-F, 1981

      3
      Defendants claim that Plaintiffs’ citation to First Enterprises, Ltd. v. Cooper recited facts not contained in that
opinion. On the contrary, Plaintiffs were citing to that Court’s recitation of the facts and holding of Kirkland
Constr. Co. v. James, 39 Mass. App. Ct. 559, 658 N.E.2d 699 (1995). The First Enterprises Court distinguished the
facts of that case from those of Kirkland as follows:
     The plaintiffs rely on Kirkland Constr. Co. v. James, 39 Mass. App. Ct. 559, 658 N.E.2d 699 (1995). In the
Kirkland case, there was a sale of goods between two distinct businesses. The attorneys provided unsubstantiated
assurances that their client could pay for the goods being offered by the plaintiff, a misstatement on which the
plaintiff relied to its detriment. In those circumstances, the Appeals Court concluded that the attorneys injected
themselves in “trade and commerce.” Here, the defendant did not inject himself in a marketplace transaction. The
defendant’s statements were not made to influence an external marketplace but rather to secure for his client a lump-
sum payment for his client’s shares in the plaintiff’s business. This defendant did not, as did the attorneys in
Kirkland, supra, inject himself into “trade or commerce” by making a false statement on which another business
relied to its detriment.
    While Plaintiffs apologize for not making their citation clearer, the reasoning remains the same: because
Defendants injected themselves into trade and commerce just like the attorneys in Kirkland, Plaintiffs have properly
established a claim under Section 11.


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U.S. Dist. Lexis 16289, at *29 (D. Mass. Dec. 18, 1981) (citing Slaney v. Westwood Auto,

Inc., 322 N.E. 2d 766, 773 (Mass. 1975); Commonwealth v. DeCotis, 316 N.E. 2d 748

(Mass. 1974)). Defendants’ cases are not to the contrary.

  II.         NONPROFIT TPP PLAINTIFFS HAVE STANDING UNDER SECTION 9

            In Defendants’ final section of their Reply, they criticize the decision of the

District of Columbia District Court in In Re Lorazepam & Clorazepate Antitrust Litig.,

295 F. Supp. 2d 30, 47 (D.D.C. 2003), claiming that it “got Massachusetts law flatly

wrong” when concluding that Blue Cross Blue Shield of Massachusetts was a charitable

institution that could bring a claim under Section 9. See Defendants’ Reply at 7-8.

However, the Lorazepam Court has not stood alone in holding that BCBS Massachusetts

has standing to assert a claim under Section 9 of Massachusetts’s Consumer Protection

Act. Notably, the Court in In re Cardizem CD Antitrust Litig., No. 99-md-1278, slip op.

at 6 (E.D. Mich. May 27, 2003), attached as Exhibit A, found that same thing after doing

a comprehensive analysis of Massachusetts law. Specifically, it found that:

                      BCBS Massachusetts has [shown] that it is a nonprofit
                      corporation created by statute and regulated by the
                      Commonwealth of Massachusetts, and that the activity in
                      question – its customary payment or reimbursement for its
                      members' prescription drug benefits – falls within its
                      charitable mission as set forth by statute and case law.

In re Cardizem, No. 99-md-1278, at *7-8.

            Indeed, the Cardizem and Lorazepam decisions are both consistent with the

holdings of Massachusetts courts that non-profits may bring claims under Section 9. See

All Seasons Servs. v. Commissioner of Health & Hosps., 416 Mass. 269, 620 N.E.2d 778


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(1993) (holding that a nonprofit hospital’s solicitation of bids for food services was

incidental to its core mission of providing medical services and was thus not engaged in a

business context under Chapter 93A); Trustees of Boston Univ. v. ASM Communs., Inc.,

33 F. Supp. 2d 66, 77 (D. Mass. 1998) (Saris, J.) (in a case where a nonprofit university

was the plaintiff, this Court noted that: “A nonprofit or charitable corporation … is not

engaged in trade or commerce ‘if, in the transaction in question, the nonprofit is merely

engaged in the customary business necessary to meet its charitable purpose,’ and [o]nly if

the nonprofit ‘goes beyond its ordinary business’ and aims instead to generate a profit

does it fall within § 11.”) (quoting Massachusetts Sch. of Law at Andover, Inc. v.

American Bar Ass'n, 952 F. Supp. 884, 890 n.4 (D. Mass. 1997) (summarizing recent

Massachusetts case law), aff'd, 142 F.3d 26 (1st Cir. 1998)).

            And there is no question in this case that BCBS MA is a nonprofit. As noted on

its web page:

                      Today, Blue Cross Blue Shield of Massachusetts retains its
                      independent, not-for-profit status as a multifaceted health care
                      company providing a wide range of health care programs and
                      educational services. Members receive health care coverage
                      through a range of employer-sponsored group plans, and non-
                      group and senior citizen programs.4

And the actions of BCBS MA, as well as those of the Taft Hartley Funds, are acts that are

within its customary business purposes.

            Defendants claim that Massachusetts courts have adjudicated a long-line of TPP

cases under Section 11, but none of the cases they cite involve a non-profit plaintiff.


      4
          Statement from web attached as Exhibit B.


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Indeed, the one case that Defendants cite for the proposition that “Massachusetts courts

have consistently rejected BCBS MA’s argument that it does not engage in ‘trade or

commerce’ for purposes of ch. 93A,” Singh v. Blue Cross & Blue Shield of Mass., Inc.,

never reached that issue. See 182 F. Supp.2d at 180 (“There is little need to dwell on

this issue: M.G.L. ch. 93A requires conduct that reaches ‘a level of rascality that would

raise an eyebrow of someone inured to the rough and tumble world of commerce.’ . . .

Singh has shown no conduct by Blue Cross that a reasonable factfinder could find meets

this demanding standard.”) (internal citations omitted).

            Defendants’ attempts to turn Massachusetts law on its head by implying should be

rejected.


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                            CERTIFICATE OF SERVICE

       I hereby certify that I, Steve W. Berman, an attorney, caused a true and correct
copy of the foregoing PLAINTIFFS’ SUR-REPLY OPPOSITION REGARDING
THE TRANSACTION REQUIREMENT UNDER MASSACHUSETTS GENERAL
LAWS CH. 93A, § 11 to be delivered to all counsel of record by electronic service
pursuant to Paragraph 11 of the Case Management Order No. 2, by sending on December
18, 2006, a copy to LexisNexis File & Serve for posting and notification to all parties.


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